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                          UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA

                       CIVIL LAW AND MOTION MINUTE ORDER

 Date: 8/26/2021                Time: 2:05-2:25             Judge: DONNA M. RYU
 Case No.: 4:19-cv-06669-JST    Case Name: Robert Ross v. AT&T Mobility, LLC, et al

For Plaintiff:
Christopher Grivakes

For Defendant AT&T Mobility, LLC:
Ashley Johnson

 Deputy Clerk: Ivy Lerma Garcia                     Recorded on Zoom: 2:05-2:25


               PROCEEDINGS HELD BY ZOOM VIDEO CONFERENCE

   1. Amended Joint Discovery Letter Brief [Docket No. 100] – hearing held

      Plaintiff's Interrogatory No. 1 and Request for Production No. 1 seek information on the
      number of unauthorized SIM swaps reported to AT&T by its customers. The parties
      dispute the appropriate date range for AT&T's responses. For the reasons stated on the
      record, AT&T shall provide responsive information and documents starting from
      January 1, 2016.

      Plaintiff's motion to compel discovery on ZenKey is denied without prejudice to Plaintiff
      making a stronger showing as to the relevance and proportionality of that information.

      Plaintiff's request for information on the total dollar amount AT&T has paid out to
      customers on unauthorized SIM swap claims is denied without prejudice to Plaintiff
      making a stronger showing of relevance and proportionality for that information.


Order to be prepared by:
 ( )    Plaintiff              ( )     Defendant             ( )      Court

cc: Chambers
